 Fill in this information to identify the case:
 Debtor name               Silverside Senior Living, LLC

 United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN
 Case number: 21-44887
                                                                                                                      D Check if this is an
                                                                                                                         amended filing

 Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11                                                                        12/17

 Month:                    October 2021                                                 Date report filed:            11/12/2021
                                                                                                                      MM/DD/YYYY
 Line of business:         Holding Company                                              NAISC code:

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.
 Responsible party:                                Anthony Fischer, Jr.

 Original signature of responsible party /s/ Anthony Fischer, Jr.

 Printed name of responsible party Anthony fischer, Jr.

           1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                            Yes No N/A
   If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

1. Did the business operate during the entire reporting period?                                                            D     B g
2. Do you plan to continue to operate the business next month?                                                             D     i a
3. Have you paid all of your bills on time?                                                                                a     D i
4. Did you pay your employees on time?                                                                                     D     D i
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                         D
6. Have you timely filed your tax returns and paid all of your taxes?                                                      D     D 59
7. Have you timely filed all other required government filings?                                                            D     Di
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                         D     D@
9. Have you timely paid all of your insurance premiums?                                                                    D     D
 If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10. Do you have any bank accounts open other than the DIP accounts?                                       D D
11. hlave you sold any assets other than inventory?                                                       D @D
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? D B D
13. Did any insurance company cancel your policy?                                                                           D    B D
14. Did you have any unusual or significant unanticipated expenses?                                                         D    i
15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                     D    iD
16. Has anyone made an investment in your business?                                                                         D    @
17. Have you paid any bills you owed before you filed bankruptcy?                                                           D    iD
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                             D @
           2. Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts                                                                                 $ 0.00
      This amount must equal what you reported as the cash on hand at the end of the month in the previous
      month. If this is your first report, report the total cash on hand as of the date of the filing of this case.


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  Debtor              Silverside Senior Living, LLC                                       Case number 21-44887
  Name

  20. Total cash receipts
           Attach a listing of all cash received for the month and label it Exhibit C. Include all cash received even if you
           have not deposited it at the bank, collections on receivables, credit card deposits, cash received from other
           parties, or loans, gifts, or payments made by other parties on your behalf. Do not attach bank statements in
           lieu of Exhibit C.

           Report the total from Exhibit C here.                                                $ 0.00

 21.       Total cash disbursements
           Attach a listing of all payments you made in the month and label it Exhibit D. List the date paid, payee,
           purpose, and amount. Include all cash payments, debit card transactions, checks issued even if they have not
           cleared the bank, outstandingchecks issued before the bankruptcy was filed that were allowed to clear this
           month, and payments made by other parties on your behalf. Do not attach bank statements in lieu of Exhibit
          D.

           Report the total from Exhibit D here.                                              -$ 0.00

 22.                         Net                           case                   flow                      +           $        0.00
          Subtract line 21 from line 20 and report the result here.
          This amount may be different from what you may have calculated as net profit.

 23. Cash on hand at the end of the month

          Add line 22 + line 19. Report the result here.                                                                       $ 0-00

          Report this figure as the cash on hand at the beginning of the month on your next operating report.

          This amount may not match your bank account balance because you may have outstanding checks that have
          not cleared the bank or deposits in transit.

3. Unpaid Bills

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
          have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the purpose
          of the debt, and when the debt is due. Report the total from Exhibit E here.

 24.      Total payables                                                                                                       $ 0.00
                (Exhibit E)

                4. Money Owed to You

          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
          have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
          Identify who owes you money, how much is owed, and when payment is due. Report the total from Exhibit F
          here.

25.       Total receivables                                                                                                    $ 0.00
                (Exhibit F)

                5. Employees

 26. What was the number of employees when the case was filed?                                                                 $ 0

 27. What is the number of employees as of the date of this monthly report?                                                    $_0

                6. Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case?                                    $ 0.00


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  Debtor              Silverside Senior Living, LLC                                           Case number 21-44887
  Name

  29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                $ 0.00

  30. How much have you paid this month in other professional fees?                                                        $ 0.00

  31. How much have you paid in total other professional fees since filing the case? $ 0.00

                 7. Projections

           Compare your actual cash receipts and disbursements to what you projected in the previous month. Projected
           figures in the first month should match those provided at the initial debtor interview, if any.



                                                Column A                       Column B                Column C
                                                Projected                      Actual                = Difference

                                                Copy lines 35-37 from the      Copy lines 20-22 of     Subtract Column B
                                                previous month's report.       this report.            from Column A.


 32. Cash receipts                              $                              $                       $

 33. Cash disbursements                         $                              $                       $

 34. Net cash flow                               $                             $                       $


 35. Total projected cash receipts for the next month:                                                                     $ 0.00

 36. Total projected cash disbursements for the next month:                                                            - $ 0.00

 37. Total projected net cash flow for the next month:                                                                     : $ 0.00

       BIM 8. Additional Information

  If available, check the box to the left and attach copies of the following documents.

[~] 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

[_] 39. Bank reconciliation reports for each account.

Q 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

Q 41. Budget, projection, or forecast reports.
D 42. Project, job costing, or work-in-progress reports.




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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re
                                                         Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                            Chapter 11
                                                         Hon. Lisa S. Gretchko
        Debtors.                                         Jointly Administered




                                        EXHIBIT A

         SMALL BUSINESS MONTHLY OPERATING REPORT FOR
               THE PERIOD ENDING OCTOBER 31, 2021



The Debtor is a holding company that was intended to provide management
services Graceway South Haven, LLC, its sole investment. The Debtor had no
active operations on the Petition Date.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 In re
                                                           Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                              Chapter 11
                                                           Hon. Lisa S. Gretchko
        Debtors.                                           Jointly Administered



                                          EXHIBIT B

             SMALL BUSINESS MONTHLY OPERATING REPORT
                 FOR THE PERIOD ERNDING OCTOBER 31,2021




The Debtor does not anticipate collecting any revenue during the course of this
proceeding.




The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No.21-44888-lsg].



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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re
                                                          Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                             Chapter 11
                                                          Hon. Lisa S. Gretchko
        Debtors.                                          Jointly Administered



                                         EXHIBIT C

             SMALL BUSINESS MONTHLY OPERATING REPORT
                   CASH RECEIPTS FOR THE PERIOD
                      ENDING OCTOBER 31, 2021


None.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re
                                                          Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,
         l*?                                              Chapter 11
                                                          Hon. Lisa S. Gretchko
        Debtors.                                          Jointly Administered




                                         EXHIBIT D

             SMALL BUSINESS MONTHLY OPERATING REPORT
                  FOR THE ENDING OCTOBER 31, 2021




None.




The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re
                                                          Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,'                                             Chapter 11
                                                          Hon. Lisa S. Gretchko
        Debtors.                                          Jointly Administered


                                         EXHIBIT E

             SMALL BUSINESS MONTHLY OPERATING REPORT
               FOR THE PERIOD ENDING OCTOBER 31,2021

                                   ACCOUNTS PAYABLE


None.




The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re
                                                          Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al.,l                                             Chapter 11
                                                          Hon. Lisa S. Gretchko
        Debtors.                                          Jointly Administered




                                         EXHIBIT F

             SMALL BUSINESS MONTHLY OPERATING REPORT
              EXPENSES FOR THE PERIOD OCTOBER 31,2021




None.




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digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
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                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re
                                                          Case No. 21-44887
SILVERSIDE SENIOR LIVING,
LLC, et al. 1                                             Chapter 11
                                                          Hon. Lisa S. Gretchko
        Debtors.                                          Jointly Administered



                                         EXHIBIT G

             SMALL BUSINESS MONTHLY OPERATING REPORT
                   BANK RECORDS FOR THE PERIOD
                      ENDING OCTOBER 31, 2021



None.




1 The debtors in these jointly administered proceedings along with the last four
digits of their respective federal tax id numbers are Silverside Senior Living, LLC
(2357) [Case No. 21-44887-lsg] and Graceway South Haven, LLC (9393) [Case
No. 21-44888-lsg].

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